Case 1:25-cv-00339-JDB   Document 80-14   Filed 04/18/25   Page 1 of 7




                EXHIBIT 12
Case 1:25-cv-00339-JDB   Document 80-14   Filed 04/18/25   Page 2 of 7
Case 1:25-cv-00339-JDB   Document 80-14   Filed 04/18/25   Page 3 of 7
Case 1:25-cv-00339-JDB   Document 80-14   Filed 04/18/25   Page 4 of 7
Case 1:25-cv-00339-JDB   Document 80-14   Filed 04/18/25   Page 5 of 7
Case 1:25-cv-00339-JDB   Document 80-14   Filed 04/18/25   Page 6 of 7
Case 1:25-cv-00339-JDB   Document 80-14   Filed 04/18/25   Page 7 of 7
